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                                                                         Page 1

 1                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
 2                                 TAMPA DIVISION
 3                                 Civil Action No.: 22-CV-01660
 4
       MUTUAL OF OMAHA
 5     MORTGAGE INC.,
 6              Plaintiff,
       v.
 7
       WATERSTONE MORTGAGE
 8     CORPORATION,
 9              Defendant.
       __________________________________/
10
11                                  DEPOSITION OF
12                                   DWAYNE HUTTO
13                            (Volume I, pages 1 - 171)
14     DATE TAKEN:              June 15, 2023
15     TIME:                    9:03 a.m. to 3:57 p.m.
16     PLACE:                   Gunster, Yoakley & Stewart, P.A.
                                401 East Jackson Street
17                              Suite 1500
                                Tampa, Florida 33602
18
       TAKEN BY:                 The Plaintiff
19
       REPORTED BY:              Victoria White
20                               Court Reporter and Notary Public
21
22
23
24
25

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                                                               Page 2                                                                 Page 4
     1 A P P E A R A N C E S:
                                                                         1
     2 ARI KAREN, ESQUIRE
       COURTNEY WALTER, ESQUIRE (Via Zoom)                               2           PROCEEDINGS
     3 MARK CARROL, ESQUIRE                                              3               *****
       OF: MITCHELL SANDLER, LLC
     4      1120 20th Street N.W.                                        4       THE VIDEOGRAPHER: Good morning. We're going on
            Suite 725                                                    5    the record at 9:03 a.m. on June 15, 2023. This is
     5      Washington, D.C. 20036
            202.886.5265                                                 6    media unit one of the video-recorded deposition of
     6      Akaren@mitchellsanders.com                                   7    Dwayne Hutto in the matter of Mutual of Omaha
     7      APPEARING ON BEHALF OF THE PLAINTIFF MUTUAL OF
                                                                         8    Mortgage Incorporated versus Waterstone Mortgage
         OMAHA MORTGAGE, INC.
     8                                                                   9    Corporation, civil action number 22-CV01660. The
       MARIA L. KREITER, ESQUIRE                                        10    location of the deposition is 401 East Jackson
     9 OF: GODFREY & KAHN
            833 East Michigan Street                                    11    Street, Suite 1500, Tampa, Florida 33602.
    10      Suite 1800                                                  12       My name is Rob Williams representing Veritext
            Milwaukee, Wisconsin 53202
    11      414.287.9466                                                13    and I'm the videographer. The court reporter is
            Mkreiter@gklaw.com                                          14    Victoria White from Veritext. Counsel and all
    12
       STEPHANIE ZIEBELL, ESQUIRE (Via Zoom)
                                                                        15    present, including remotely, will now state their
    13 GENERAL COUNSEL WATERSTONE MORTGAGE CORPORATION                  16    appearances and affiliations for the record beginning
    14      APPEARING ON BEHALF OF THE DEFENDANT WATERSTONE
                                                                        17    with the noticing attorney.
         MORTGAGE CORPORATION
    15                                                                  18       MR. KAREN: Ari Karen with Mitchell Sandler on
    16 ALSO PRESENT:                                                    19    behalf of Mutual of Omaha.
    17 Rob Williams - Videographer
    18                                                                  20       MS. KREITER: Maria Kreiter, Godfrey & Khan, on
    19                                                                  21    behalf of defendant Waterstone.
    20
    21                                                                  22       MS. WALTER: Courtney Walter on behalf of
    22                                                                  23    plaintiff Mutual of Omaha.
    23
                                                                        24       MS. KREITER: And then go ahead, Stephanie.
    24
    25                                                                  25       MS. ZIEBELL: Yeah, Stephanie Ziebell on behalf

                                                               Page 3                                                                 Page 5
     1
                    INDEX OF PROCEEDINGS
                                                                         1      of Waterstone Mortgage. I also have a paralegal
     2                 VOLUME I                                          2      intern here, Mary Curry.
     3 Witness                               Page
       DWAYNE HUTTO                                                      3         THE VIDEOGRAPHER: Okay. Will the court
     4   Direct Examination by Mr. Karen                  5              4      reporter please swear in the witness.
     5
                  PLAINTIFF'S INDEX OF EXHIBITS                          5         THE COURT REPORTER: Raise your right hand,
     6                 VOLUME I
     7 Exhibit         Description             Marked
                                                                         6      please. Do you swear or affirm the testimony you
     8 Exhibit 1       Waterstone Mortgage             9                 7      will give in this matter will be the truth, the whole
                    Corporation Producing Branch
     9              Manager Employment Agreement                         8      truth, and nothing but the truth?
    10 Exhibit 2       E-mail from Michael Smalley        37             9         THE WITNESS: Yes, ma'am.
                    Dated August 14, 2019
    11                                                                  10         THE COURT REPORTER: Thank you.
       Exhibit 3       Dustin Owen E-mail dated          39
    12              October 8, 2021
                                                                        11                 DWAYNE HUTTO,
    13 Exhibit 4       Dustin Owen E-mail dated          45             12 having first been duly sworn, was examined and testified as
                    January 31, 2022
    14                                                                  13 follows:
       Exhibit 5       Waterstone April 20, 2022        61              14               DIRECT EXAMINATION
    15              E-mail
    16 Exhibit 6       February 17, 2022 E-mail        82               15 BY MR. KAREN:
                    (December P&I)
    17
                                                                        16      Q. Good morning, Mr. Hutto, how are you?
       Exhibit 7       Employee Offer Letter         100                17      A. Good morning. How are you doing?
    18              Date/Resignation Letter Date
                    Document                                            18      Q. I want to go over some rules of deposition just
    19                                                                  19 so we understand how this works. Just really quickly. Have
       Exhibit 8       April 27, 2022 E-mail        107
    20                                                                  20 you ever been deposed before?
       Exhibit 9       January 10, 2022 E-mail from      119
    21              Chris Wolf
                                                                        21      A. No.
    22 Exhibit 10       March 3, 2022 E-mail          146               22      Q. Okay. Have you ever been a witness in a case
    23 Exhibit 11       March 29, 2022 E-mail          151
    24 Exhibit 12       April 8, 2022 E-mail        155                 23 before?
                    (Today's Call)                                      24      A. No --
    25
       Exhibit 13       April 8, 2022 E-mail        165                 25      Q. Okay.

                                                                                                                          2 (Pages 2 - 5)
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                                                                     Page 6                                                           Page 8
     1      A. -- no, sir.                                          1      Q. Or not here, I'm sorry, your first official day
     2      Q. This is your first time?                             2 at Waterstone, correct?
     3      A. Yes, sir.                                            3      A. Correct.
     4      Q. All right. So one of the things -- we just kind      4      Q. Since that time have you been disciplined by
     5 of did this, it's really important as we talk today, I know  5 Waterstone?
     6 in our common vernacular, right, and talking back and forth, 6      A. No.
     7 we often interrupt one other when we know what the other     7      Q. Okay. Had any verbal or written reprimands?
     8 person is going to say. It's really important today, even    8      A. No, sir.
     9 when you know what I'm going to ask you, not to cut me off 9        Q. Have your job duties changed in terms of what
    10 because it's really hard for the court reporter --          10 you were supposed to be doing to what you're doing now?
    11      A. I understand.                                       11      A. No, sir.
    12      Q. -- to -- exactly like that just happened.           12      Q. Have you been notified that you might have to --
    13      A. Sorry.                                              13 have they made any claim against you for indemnification,
    14      Q. I know. I know it's hard, it's hard for me,         14 that is Waterstone?
    15 too, but if you could just really try to do that, it's much 15      A. Not to my knowledge.
    16 easier for the court reporter and it will actually get us   16      Q. Have you been told that in any way you breached
    17 out of here faster because I don't kind of have to repeat   17 your agreements with Waterstone?
    18 the question, because it's really important for the record  18      A. No.
    19 that we create that my whole question gets out there. So if 19      Q. Without counsel present -- I just want to make
    20 you could just try to remember that. I'll try to do the     20 sure that's the preface to this question, okay, I don't want
    21 same for you when you answer, but if you could try to be    21 to ask -- I'm not asking you anything that you said in front
    22 conscious of that.                                          22 of or heard from an attorney, okay, Ms. Ziebell or I'm
    23         The other thing is not to nod and shake your        23 sorry --
    24 head. You're great because right now you're giving me all 24            MS. KREITER: Kreiter.
    25 the examples of stuff not to do, sorry. So it's very        25 BY MR. KAREN:
                                                                     Page 7                                                           Page 9
     1 important not to say um-hmm, uh-huh; very hard again for her            1      Q. -- Ms. Kreiter, thank you. So I don't want to
     2 to take that down on the record. Also shaking or nodding                2 ask you any question about that, okay, just to be clear. So
     3 your head, very hard for her to take down on the record,                3 I don't want you to share any of that information with me.
     4 verbal response. So if you could just try to keep that in               4         Have you spoken outside the presence of counsel
     5 mind as well.                                                           5 to anyone at Waterstone about the allegations in this case?
     6          Additionally, as we go through today, if I ask                 6      A. No.
     7 you a question, if there's something you don't understand,              7      Q. Has anyone told you in any way, again, outside
     8 if you didn't hear it, please stop me and I'll go back and              8 the presence of counsel, that you did anything wrong in this
     9 do that for you. But if you answer, I'm going assume that               9 case from Waterstone's perspective?
    10 you heard my question, you understood my question and you're           10      A. No.
    11 giving me a fully truthful answer; is that fair?                       11         MR. KAREN: I'm going to show you what I'll mark
    12      A. Yes.                                                           12      as Exhibit 1.
    13      Q. Okay. Great. Also, if you need breaks today,                   13         (Plaintiff's Exhibit No. 1 was marked for
    14 that's fine, just not while a question's pending. So if you            14      identification.)
    15 do have to take a break, you have to go to the bathroom or             15 BY MR. KAREN:
    16 whatever, just let us know, but just wait until you finish             16      Q. Mr. Hutto, do you see one, two, three lines
    17 your answer to my question and then you can take whatever              17 down, this appears to be an employment agreement between
    18 break you need, okay?                                                  18 yourself and Waterstone Mortgage?
    19      A. Okay.                                                          19      A. Correct.
    20      Q. First question, since you -- you came to                       20      Q. Do you recall signing an agreement, sitting here
    21 Waterstone April 26th of 2022; is that right?                          21 today, with Waterstone?
    22      A. Correct.                                                       22      A. I believe so. I mean, that's pretty bad, but,
    23      Q. Okay. That was your first official day here,                   23 yeah, I believe I do.
    24 right?                                                                 24      Q. And if you look to the back page, this appears
    25      A. Yes.                                                           25 to be like a DocuSign record and it gives the dates when

                                                                                                                         3 (Pages 6 - 9)
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                                                                      Page 10                                                         Page 12
     1 different things were sent and when it was completed; do you              1 need every single detail, what are the expenses that go
     2 see that?                                                                 2 against the branch?
     3      A. Yes.                                                              3      A. That would be impossible, there's a lot. Paper,
     4      Q. Using your best recollection, does this look                      4 rent, it's a long list.
     5 accurate in terms of that you signed this agreement and when              5      Q. Basically everything that goes into operating
     6 you signed this agreement?                                                6 the branch --
     7      A. It does.                                                          7      A. Everything --
     8      Q. Is this the first employment agreement you've                     8      Q. Again, please --
     9 ever signed?                                                              9      A. Marketing and everything. Sorry.
    10      A. No, sir.                                                         10      Q. I'm only trying to make this go faster for both
    11      Q. Did you sign an employment agreement with Mutual                 11 of us, because I'm sure --
    12 of Omaha?                                                                12      A. Perfect.
    13      A. I believe so.                                                    13      Q. -- you have better things to do today than this.
    14      Q. And I wanted to go through a couple of things in                 14           Okay. So I think I understand. Now, how did
    15 this agreement. If you can turn to page 16 and if you look               15 that compare -- was that a similar model -- strike that.
    16 about halfway down in bold there's a B, a little B and a                 16           Was that a similar model to what -- to how you
    17 little 1, it says 250 basis points for eligible loan; do you             17 were compensated at Mutual?
    18 see where it says that?                                                  18           MS. KREITER: Object to the form.
    19      A. Um-hmm. Yes, sir.                                                19           MR. KAREN: You can answer.
    20      Q. And so tell me if I understand this correctly or                 20           THE WITNESS: Is a similar model the way -- did
    21 correct me if I'm wrong, what that means, if I understand                21      you say on the P&L?
    22 this, is that for every loan that comes in the branch that               22 BY MR. KAREN:
    23 you manage, you essentially get 250 basis points credited to             23      Q. Okay. You're calling it -- let me say it this
    24 the branch; is that right?                                               24 way just for clarity: When you say P&L you're referring to
    25      A. Yes, credited to the branch P&L.                                 25 the way you're compensated now, correct?
                                                                      Page 11                                                         Page 13
     1      Q. Okay. And then are various expenses deducted         1     A. Correct.
     2 from that?                                                   2     Q. Okay. So were you compensated on a P&L
     3      A. Yes, sir.                                            3 matter -- were you compensated in a P&L manner at Mutual?
     4      Q. And then what's left over you get?                   4     A. Correct.
     5      A. Correct, if I want to take it at that time.          5     Q. Okay. And the 250 basis points that you receive
     6      Q. Okay. But at some point in time you can take         6 now is credited on the branch; did you receive the same
     7 it?                                                          7 amount at Mutual?
     8      A. Correct.                                             8     A. Correct. To my knowledge.
     9      Q. Is there a limitation in how long you can leave      9     Q. Is there any difference in the expenses that are
    10 it there in the branch?                                     10 counted against that 250 basis points here versus Mutual?
    11      A. Not to my knowledge.                                11     A. I'd have to go back and look at the P&L and
    12      Q. Okay. But that -- from your perspective             12 match them up.
    13 anything that's left over is your money?                    13     Q. Okay. Is it fair to say that when you received
    14      A. Yes.                                                14 an offer from Waterstone it was essentially matching the
    15      Q. Okay. If -- let me ask this -- let's just say       15 compensation you received at Mutual?
    16 you have money that you've built up in the branch, you left 16         MS. KREITER: Object to the form.
    17 it there a couple of months and then you have a loss, does 17          MR. KAREN: You can answer.
    18 the loss take away that money that's in the branch?         18         THE WITNESS: Yeah, that's not correct.
    19      A. Correct.                                            19 BY MR. KAREN:
    20      Q. Okay. So you can sort of just leave this money      20     Q. Okay. Can you tell me how it differed?
    21 in the branch, kind of as almost like an operating account  21     A. I would have to go back and match up the P&Ls to
    22 and then you can pull from it when you want the income; is 22 see how it differed with the pay.
    23 that a fair understanding?                                  23     Q. Okay. But you -- did you see this as an
    24      A. Correct, when you feel comfortable, yes.            24 increase in pay or an advantage in the way you were paid at
    25      Q. And if you can tell me just generally, I don't      25 Waterstone versus Mutual?

                                                                                                                       4 (Pages 10 - 13)
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                                                                      Page 14                                                        Page 16
     1      A. I did not see it either way. I wasn't looking        1       A. Yes.
     2 at pay when I went to make a move, if I chose, the company I 2       Q. Okay. And the first one says that employee's
     3 chose.                                                       3 employment with the company will not violate or conflict
     4      Q. All right. All I'm trying to clarify, sir,           4 with any obligations employee owes to any individual or
     5 you -- as I said, I asked you the question of was your       5 entity, including without limitation obligations arising out
     6 compensation essentially the same rate.                      6 of or relating to any non-compete, non-disclosure or
     7      A. Very close. I would have to look and make sure.      7 non-solicitation or confidentiality provisions; do you see
     8 Just being honest, I'd have to go back and look at Mutual's  8 where it says that?
     9 last agreement I signed.                                     9       A. Yes.
    10      Q. Okay. That's fair. But you're not aware of any      10       Q. Do you think that's a reasonable request?
    11 distinction in the compensation model sitting here today?   11           MS. KREITER: Object to the form.
    12      A. Not to my knowledge.                                12           THE WITNESS: Yes.
    13      Q. Okay. Now if you can also look at page 2 of         13 BY MR. KAREN:
    14 this agreement and you see three little I's and it          14       Q. Okay. And have you been notified in any way
    15 states recruiting. These are the duties, right, in the      15 that you violated section 1.8 of this agreement?
    16 section 1.3?                                                16       A. No.
    17      A. Correct.                                            17       Q. It also says, one of the other -- Roman numeral
    18      Q. And then there's a little three I's and it says     18 little 2, it says, any prior -- that employee's employment
    19 recruiting staff for the branch?                            19 will not violate any prior employer or employment; do you
    20      A. Correct.                                            20 see where it says that?
    21      Q. Is that in fact one of your duties?                 21       A. I do not.
    22      A. Correct.                                            22       Q. Roman numeral 2, any prior employer or
    23      Q. And then if you look at Roman numeral 6 a couple 23 employment?
    24 of lines down, it says assisting company's management in the24       A. Yes.
    25 development of successful group of employees; do you see 25          Q. Okay. And then it continues, employee
                                                                      Page 15                                                        Page 17
     1 that?                                                                     1 represents and warrants that he or she has not and will not
     2      A. Correct, yes.                                                     2 attempt to transfer loans or other documentation or
     3      Q. Is that one of your duties?                                       3 information to the company that are the property of his or
     4      A. Yes.                                                              4 her previous employer; do you see that?
     5      Q. And if you could go to the next page we're going                  5      A. Yes.
     6 to go to section 1.4. If you look in the second line, tell                6      Q. Okay. And it continues on, except in the event
     7 me if you see this sentence that says, employee shall assist              7 employee has obtained prior written -- I'm sorry, prior
     8 and work for only company and no other employee, lender,                  8 written consent from the customers whose information is
     9 broker or entity?                                                         9 being transferred and from his or her previous employer; do
    10      A. I see it.                                                        10 you see that?
    11      Q. Okay. Do you think that's reasonable?                            11      A. Yes.
    12         MS. KREITER: Object to the form.                                 12      Q. Okay. And, again, no one has in any way
    13         MR. KAREN: You can answer.                                       13 reprimanded you or disciplined you for violating section
    14         THE WITNESS: Yes.                                                14 1.8, have they?
    15 BY MR. KAREN:                                                            15      A. With Waterstone?
    16      Q. And that was -- is it fair to say that was your                  16      Q. With Waterstone.
    17 expectation when you came to Waterstone that you would abide             17      A. No.
    18 by that provision?                                                       18      Q. And I presume nobody else has reprimanded or
    19      A. Yes.                                                             19 disciplined you either, right, for section 1.8?
    20      Q. Okay. If you look further down -- actually skip                  20      A. Not to my knowledge.
    21 that. Now you can turn to page 5. On page 5 if you look at               21      Q. One question I just wanted to go back to. On
    22 section 1.8 and it says, without limiting any obligations of             22 the -- we saw that compensation P&L model you referred to.
    23 employee, employee represents and warrants to the company at             23      A. Yes, sir.
    24 all times during employment as follows, and it has a number              24      Q. Do you recall that a minute ago?
    25 of representations; do you see that?                                     25      A. Yes, sir.

                                                                                                                       5 (Pages 14 - 17)
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     1      Q. The money that's -- okay. Let's just take a                   1     Q. So you were out of --
     2 step back.                                                            2     A. That was a gap in between there.
     3          You originate loans for Waterstone or I should               3     Q. Okay.
     4 say -- strike that.                                                   4     A. I worked for Humana --
     5          People in your branch originate loans for                    5     Q. Got it.
     6 Waterstone, right?                                                    6     A. -- at that time.
     7      A. Correct.                                                      7     Q. And then since 2016 you've been back in mortgage
     8      Q. You don't actually originate loans?                           8 banking --
     9      A. I do.                                                         9     A. Approximately 2016, 2017.
    10      Q. You do? You do. Okay. So you're a producing                  10     Q. Where did you work prior to Mutual of Omaha?
    11 manager?                                                             11     A. I was going to school and bartending.
    12      A. Correct.                                                     12     Q. Did you work for a company called Synergy One?
    13      Q. But you don't get paid on personal production;               13     A. Yes.
    14 is that right?                                                       14     Q. What was Synergy One?
    15      A. Correct.                                                     15     A. I'm trying to think. I can't remember, it was
    16      Q. Okay. So all you get is the override less those              16 Synergy One doing business as. I can't remember. I've been
    17 costs we talked about?                                               17 at multiple mortgage companies, five, six, seven, with the
    18      A. Exactly.                                                     18 same group with Chris Smith, but they were, you know, they
    19      Q. But you do produce loans yourself?                           19 buy one out or we transferred to a different company.
    20      A. I do.                                                        20     Q. Okay.
    21      Q. And when you and your branch originate loans,                21     A. I would have to think about it with that.
    22 you guys make money, right, for originating them?                    22     Q. Okay.
    23 Commissions?                                                         23     A. Synergy One was doing business as somebody. I
    24      A. Correct.                                                     24 don't remember.
    25      Q. Overrides, right?                                            25     Q. But that was a different lender, yes?
                                                                  Page 19                                                         Page 21
     1     A. Correct.                                                       1      A. That was before, that was after 2004.
     2     Q. And is it fair to say at least the goal is that                2      Q. Yes. Yes. Let's go backwards.
     3 Waterstone makes money on those loans, too?                           3      A. That was a different lender.
     4     A. Correct.                                                       4      Q. Okay. And that was the lender you worked with
     5     Q. And, I mean, that's -- tell me if I'm wrong, for               5 prior to Mutual, right?
     6 bank -- mortgage bank with Waterstone, it primarily makes             6      A. Yes.
     7 money off of those loans by selling them service release              7      Q. Okay. Do you know if Synergy One was acquired
     8 premiums; is that right?                                              8 by Mutual or did you guys --
     9        MS. KREITER: Sorry, the videographer is                        9      A. There we go, Synergy, yes. I believe Synergy
    10     indicating that Mark Carrol is joining or wanting to             10 One and Mutual were together might I say. I don't remember
    11     be admitted.                                                     11 the relationship.
    12        THE WITNESS: Sorry, can you repeat the                        12      Q. Okay. And who did you work with prior to
    13     question?                                                        13 Synergy One, was that when you were bartendering?
    14        MR. KAREN: Sure. I mean, it was a long one.                   14      A. That was Humana.
    15 BY MR. KAREN:                                                        15      Q. That was Humana, okay.
    16     Q. So if you could explain the business a little                 16      A. Um-hmm.
    17 bit to me, okay. When a mortgage bank -- how long have you           17      Q. Why did you leave the industry to go work for
    18 been in mortgage banking by the way?                                 18 Humana?
    19     A. Since 2004.                                                   19      A. At the time it was I just had two small kids, I
    20     Q. Okay. And I should have --                                    20 was driving to Lake Mary, the market was crashing at the
    21     A. I was out for a period of five years or so.                   21 time, it just -- stressful, not making money and said I need
    22     Q. Okay. And so since 2009 pretty much                           22 to spend more time with family so I'll go do something else.
    23 consistently you've been in mortgage banking?                        23      Q. And that was, you said, I think around 2011?
    24     A. 2004 to approximately, I don't remember the                   24      A. I think that's somewhere around there. Yes, I
    25 dates, 2010, 2011 to 2016, 2017.                                     25 don't remember the exact date.

                                                                                                                   6 (Pages 18 - 21)
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     1     Q. And that was right around the time when all of       1      A. To my knowledge.
     2 those foreclosures were really hitting Florida bad, right?  2      Q. Okay. Or services them?
     3     A. Correct.                                             3      A. Correct.
     4     Q. So the Florida market was not great?                 4      Q. Okay. And Waterstone then makes money off the
     5     A. Correct.                                             5 sale or services of those loans, yes?
     6     Q. Okay. I understand. What caused you to jump          6      A. To my knowledge.
     7 back into the industry?                                     7      Q. Or at least that's the goal?
     8     A. I was talking to Chris Smith, who I've always        8      A. That's the goal.
     9 worked with previous, asked how he was doing and he was 9          Q. So every loan you bring to Waterstone is
    10 doing well so I decided to get back in.                    10 essentially an opportunity for Waterstone to make money; is
    11     Q. How do you know Chris, by the way, originally? 11 that fair to say?
    12     A. He was my boss at Ameriquest. He was my             12         MS. KREITER: Object to the form.
    13 regional manager when I was a branch manager --            13         THE WITNESS: I would think so.
    14     Q. What years?                                         14 BY MR. KAREN:
    15     A. -- with Ameriquest and that was 2004.               15      Q. And that's certainly your goal, is to bring as
    16     Q. And that was when you --                            16 many loans as possible to Waterstone, right?
    17     A. 2006.                                               17      A. To give as good as customer service as possible
    18     Q. And that's when you first got into the industry?    18 and do as, you know, obviously have a -- you know, a
    19     A. Yeah, I was a loan officer first and then I got     19 producing branch that can support my family is the goal.
    20 promoted to branch manager, correct.                       20      Q. Well --
    21     Q. So he was essentially your first boss in the        21      A. I mean, that's the real goal.
    22 industry?                                                  22      Q. The real goal is to make money, right?
    23     A. Well, he was my -- he was my second. I mean,        23      A. Exactly, yeah.
    24 Rich Williams was my boss and he took over for the regional24      Q. We all have that goal. But I'm asking from a
    25 manager, at the time was Mario Demarin (phonetic), he took 25 corporate perspective, is it fair to say that the goal for
                                                                    Page 23                                                         Page 25
     1 over for him.                                                           1 you is to maximize your volume with performing loans?
     2      Q. Got it. Okay. And you guys have kind of just                    2      A. That's my goal, that's correct, that makes
     3 stayed together ever since, for the most part?                          3 money.
     4      A. Correct.                                                        4      Q. For you and the company, yes?
     5      Q. Okay.                                                           5      A. Correct.
     6      A. He's one of my good friends.                                    6      Q. All right. Now I want to go back to this
     7      Q. Were you guys friends outside of or prior to                    7 employment agreement where it says article 5, it's on page
     8 working at Ameriquest?                                                  8 9. And is it fair to say -- well, strike that.
     9      A. Ameriquest was more business. I mean, we                        9          If you read section 5.1(a) and if you could just
    10 became -- when I left Ameriquest, him and I, he brought me             10 read that first paragraph to yourself, I'm going to ask you
    11 into Florida -- I was always in Florida but wanted me to               11 some specific questions about it.
    12 open Lake Mary and then we became friends and we've worked             12      A. Okay.
    13 together at every place since.                                         13      Q. Okay. So if you go midway down, this defines
    14      Q. Right. My question is, did you know Mr. Smith                  14 what Waterstone thinks is confidential, right?
    15 prior to working at Ameriquest --                                      15      A. Correct.
    16      A. I did not, I'm sorry. I did not.                               16      Q. And the first thing -- the second thing it
    17      Q. No, that's okay. And just again, sir, it                       17 mentioned, the second little bullet point here it says
    18 doesn't bother me at all, but I'm just trying to make this             18 essentially anything's confidential that gives the company a
    19 easy for the court reporter. Just try to let me finish my              19 competitive business advantage; do you see where it says
    20 question, if that's okay.                                              20 that?
    21          All right. So let's now turn back or let me                   21      A. Yes.
    22 change direction for a minute. So you bring in loans and               22      Q. And then it continues, or opportunity of
    23 the goal is that from those loans in the mortgage banking              23 obtaining such advantage or disclosure of which would be
    24 business, Waterstone takes those loans and sells them,                 24 detrimental to the interest of the company; do you see where
    25 right?                                                                 25 it says that?

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                                                            Page 26                                                            Page 28
     1      A. Yes.                                                 1 BY MR. KAREN:
     2      Q. Do you think that's a reasonable definition of       2      Q. Where it says in terms of confidentiality, it
     3 confidentiality from your perspective?                       3 say information that's confidential includes internal,
     4         MS. KREITER: Object to the form.                     4 personal and financial of the company, purchasing and
     5         MR. KAREN: You can answer.                           5 internal cost and revenue information, internal service and
     6         THE WITNESS: Yes.                                    6 operational manuals; do you see that?
     7 BY MR. KAREN:                                                7      A. Yes.
     8      Q. Okay. And let me ask you something: Is there         8      Q. Okay. And do you have any problems, do you
     9 anything that is unique about Waterstone as a mortgage bank 9 think that shouldn't be considered confidential personally
    10 that makes the information it considers confidential        10 from your perspective?
    11 different from the information another company -- another 11           MS. KREITER: Object to the form.
    12 similar company would consider confidential?                12         THE WITNESS: No.
    13      A. No.                                                 13 BY MR. KAREN:
    14      Q. Okay. So the information that's confidential at     14      Q. And then it says, number 6, if you look down,
    15 the Waterstone should kind of be the same as the information15 confidential and proprietary information provided to the
    16 that's confidential at Mutual, right?                       16 company by any actual or potential customer or other third
    17         MS. KREITER: Object to the form.                    17 party; do you see where it says that?
    18         MR. KAREN: You can answer.                          18      A. Yes.
    19         THE WITNESS: Correct.                               19      Q. And you would agree with me, again, that that
    20 BY MR. KAREN:                                               20 should be considered confidential, right?
    21      Q. And as we continue on this -- in this paragraph,    21         MS. KREITER: Object to the form.
    22 Roman numeral 3, little three says, information that is     22         THE WITNESS: Right.
    23 designated as confidential material by the company is known 23 BY MR. KAREN:
    24 by the employee to be confidential or for all relevant      24      Q. Now these provisions in section 5.1, did you
    25 circumstances should be considered confidential; do you see 25 draft them with Waterstone or did Waterstone just give this
                                                            Page 27                                                            Page 29
     1 where it says that?                                           1 to you and you didn't have a problem with it and signed it,
     2     A. Where are we at?                                       2 if you understand my question?
     3     Q. Roman numeral 3.                                       3      A. Yeah, I signed it, but I didn't draft it.
     4     A. I do.                                                  4      Q. So this wasn't something you guys negotiated
     5     Q. Okay. And, again, you don't have any problem           5 back and forth and changed the words on, right?
     6 with that definition, that seems reasonable to you?           6      A. No.
     7     A. Yes.                                                   7      Q. They just gave it to you? And, again, if you
     8     Q. Okay. And if you continue on, sir, then there's        8 didn't agree with something you would tell them, right?
     9 a bunch of little -- another set of Roman numerals defining 9        A. Yes, if I read it.
    10 information that's confidential, it starts with little Roman 10      Q. And then I'd like you to turn to page 12 and if
    11 numeral 1, it says, internal, personal and financial         11 you could go to section 6.6. I'm going to read this bullet
    12 information; do you see that?                                12 to you, it says indemnification; do you see where I'm
    13     A. Um-hmm.                                               13 pointing, sir?
    14     Q. Yes?                                                  14      A. Yes, sir.
    15     A. Yes.                                                  15      Q. Okay. To the extent permitted under applicable
    16     Q. Okay. And would you agree that's also a               16 law employee hereby agrees to indemnify and defend company
    17 reasonable definition of concluding this information is      17 and its principals for any and all attorneys' fees, costs of
    18 confidential?                                                18 prudent settlement, judgments, fines, or damages incurred by
    19        MS. KREITER: I'm going to object to the form.         19 company as a result of employee's breach of the terms of
    20     In addition, to the extent that you're asking the        20 this agreement; did you follow along with me on that?
    21     witness for his opinion on reasonableness as a lay       21      A. Yes.
    22     person, that is not the same as reasonableness from a    22      Q. Okay. And, again, I think you answered this
    23     legal perspective or enforceability analysis.            23 question, so I just want to make sure, I don't know if I
    24        MR. KAREN: Okay. You can go ahead and answer. 24 asked: No one has indicated to you that you may have an
    25        THE WITNESS: Repeat the question?                     25 obligation to indemnify Waterstone for the allegations in

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                                                         Page 30                                                      Page 32
     1 this lawsuit, right?                                       1     I feel like asking.
     2      A. Not to my knowledge.                               2          MS. KREITER: I do think there's a conflict of
     3      Q. No one's suggested that to you?                    3     interest. You may dispute this is your agreement
     4      A. Not to my knowledge.                               4     that is contested. So for purposes of this
     5         MS. ZIEBELL: Ari, can we take a quick break?       5     deposition, which I did not understand that you were
     6      Maria, is that okay? Can we take a quick break.       6     taking, but, regardless, this is the first time that
     7         MS. KREITER: Sure.                                 7     a Waterstone agreement drafted by you from
     8         THE VIDEOGRAPHER: Is that all right, sir?          8     Waterstone's perspective --
     9      Going off the record. The time is 9:34.               9          MR. KAREN: It isn't drafted by me.
    10               (Off the record.)                           10          MS. KREITER: -- let me finish for the record --
    11         THE VIDEOGRAPHER: We're back on the record. 11           our position is that it is drafted by you. If you
    12      The time is 9:56.                                    12     want to do a comparison later and illustrate that
    13         MS. KREITER: So I need to put on the record,      13     it's materially different, so be it. My
    14      during the break Ms. Ziebell alerted me to the fact  14     understanding right now is that Exhibit 1 put into
    15      that Ari Karen, the attorney representing Mutual in  15     evidence by you was drafted by you. So I'm not going
    16      this case was previously representing Waterstone. In 16     to permit questioning of the witness --
    17      fact, Mr. Karen was lead counsel for Waterstone for  17          MR. KAREN: Let's get the judge on the phone.
    18      nearly 10 years in a case that involved employment   18          MS. KREITER: -- about Exhibit 1.
    19      practices. That representation required Mr. Karen to 19          MR. KAREN: Let's get the judge on the phone
    20      be in close communication with Waterstone leadership 20     right now.
    21      and branch managers regarding employment matters. 21             MS. KREITER: You should call him. Because I
    22         Importantly, that representation included         22     agree, this is not something where I want to waive
    23      drafting the Waterstone employment agreement that is 23     the conflict. If you drafted this agreement and were
    24      now marked as Deposition Exhibit No. 1. Waterstone 24       in communication with Waterstone managers --
    25      objects to the entire line of questioning by Mr.     25          MR. KAREN: It's just simply not true.
                                                         Page 31                                                      Page 33
     1     Karen of this witness or any other witness due to a      1       MS. KREITER: Then I think you do need to raise
     2     clear conflict of interest by opposing counsel. The      2   it to the judge --
     3     work-product of opposing counsel for its former          3       MR. KAREN: I don't think I need to raise it to
     4     client Waterstone is now being used at a deposition      4   the judge. You're the one who makes an objection. I
     5     in which Waterstone is the adversary. We ask that        5   get to ask my questions. If you want to file a
     6     opposing counsel refrain from any questioning of the     6   motion, you file a motion.
     7     witness based on his work-product, namely, the           7       MS. KREITER: I'm going to instruct the witness
     8     Waterstone employment agreement.                         8   not to answer any questions about Exhibit 1 at this
     9         MR. KAREN: Okay. Well, let me respond to that.       9   deposition.
    10     That agreement is nothing I drafted. What I drafted     10       MR. KAREN: Well, fortunately I'm pretty much
    11     for Waterstone was in 20 -- over ten years ago. That    11   done with it anyhow. But notwithstanding, you know,
    12     is not the same agreement. I have -- you could          12   we are going to have this issue tomorrow, so we
    13     compare any agreement I drafted, I don't have that      13   should discuss now because I plan on asking those
    14     language in there. It doesn't look like anything        14   questions tomorrow.
    15     I've ever drafted. So that's just simply wrong.         15       MS. KREITER: I will similarly object and
    16         I realize you guys know how bad that just, but      16   instruct the witness not to answer questions based on
    17     if you had any concern about this alleged conflict of   17   Exhibit 1 tomorrow.
    18     interest, I have been noticed in this case for, I       18       MR. KAREN: Then we should probably talk
    19     don't know how long. I have been -- you knew I was      19   offline, we don't have to do this right now.
    20     taking this deposition and to try to raise this now     20       MS. KREITER: I --
    21     is, frankly, desperate.                                 21       MR. KAREN: Just hear me out for one second,
    22         So you can make whatever objections you want and    22   okay, before you object. I am suggesting maybe we
    23     we'll have the court rule on it, but if you think       23   talk about tomorrow because I really don't want to
    24     there's a conflict of interest, you should get the      24   come down, take a deposition, have to come down and
    25     judge on right now, because I'm going to ask whatever   25   do the deposition again, and I'm sure you can

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                                                             Page 34                                                           Page 36
      1      appreciate that.                                       1         MR. KAREN: This is a question for Mr. Hutto,
      2          So what I'm saying is, if this is going to be an   2      not for you.
      3      issue let's -- we don't have to do it now, we can go   3         Mr. Hutto, could you answer, please.
      4      offline afterwards and have a discussion and figure    4         THE WITNESS: No.
      5      this out, but we should probably do that before        5 BY MR. KAREN:
      6      tomorrow's deposition starts because I don't want to   6      Q. What did you do to prepare for today? And,
      7      have to bring people back and I don't want to fly      7 again, I don't want anything said to your -- between you and
      8      back down here for that. I'm sure you can appreciate   8 the lawyers, okay?
      9      that.                                                  9      A. Not a lot.
     10          MS. KREITER: I can appreciate that. I'm           10      Q. Tell me what you did do.
     11      willing to have further discussions, but if you feel  11      A. I met with her for approximately two hours maybe
     12      that you need to move to compel the testimony and you 12 yesterday.
     13      feel you need to contact the court, I think that that 13      Q. And her being?
     14      should be probably done by you, because I am not      14      A. I'm sorry, My attorney.
     15      allowing this witness to, you know, to provide        15      Q. Maria?
     16      testimony at the deposition.                          16      A. Yes, correct.
     17          Our position is that it is a conflict of          17         MR. KAREN: And, I'm sorry to call you Maria, if
     18      interest and I don't want it waived by way of         18      that's okay. I'm not a last name person. So if
     19      questioning at the deposition today.                  19      that's all right. I don't want to do --
     20          MR. KAREN: I understand your objection. As I      20         MS. KREITER: That's fine.
     21      said, I think it's a moot point anyhow because I'm    21         MR. KAREN: -- anything to disrespect you. And
     22      done with that exhibit. So we can move on, I'm not    22      you can call me Ari, by the way.
     23      going to fight about something today that -- there's  23 BY MR. KAREN:
     24      nothing to fight about because I already asked my     24      Q. So did you review any documents?
     25      questions, but not withstanding we can move forward. 25       A. A few.
                                                             Page 35                                                           Page 37
      1         Mr. Hutto, I just want to go on the record -- we     1       Q. What documents were they?
      2      took a -- I would also suggest and may I add that I     2       A. I don't -- I don't remember.
      3      was making these questions for a good 30 minutes,       3       Q. Did you review your Waterstone employment
      4      that was almost the entirety of my first 30 minutes     4 agreement?
      5      of depositions and not once did I hear that             5       A. No.
      6      objection. So in terms of it not being waived, I        6       Q. All right. So let me ask you this, sir: If you
      7      think ship sailed. But, again, we'll go on with         7 could take me back to sort of the beginning of when you
      8      that. We'll --                                          8 started thinking about coming over to Waterstone. Why don't
      9         MS. KREITER: I will put on the record that           9 I do it this way, let me start Exhibit 3 [sic].
     10      Ms. Ziebell alerted me to the representation, the      10          So when you've had a chance to look at that,
     11      scope of it during the break. I think that we raised   11 sir, let me know.
     12      the issue as promptly as possible and my position on   12       A. I'm done.
     13      behalf of Waterstone stands.                           13          (Plaintiff's Exhibit No. 2 was marked for
     14         MR. KAREN: Okay.                                    14    identification.)
     15 BY MR. KAREN:                                               15 BY MR. KAREN:
     16      Q. All right. Now, in terms of -- and, Mr. Hutto,      16       Q. Okay. So this is an e-mail from Mike Smalley to
     17 I just want to say for the record, we went off record at    17 you at Mutual Mortgage and it's dated August 14, 2019.
     18 9:36 and you guys came back at 9:56, and the court reporter 18       A. Correct.
     19 can confirm that. So after about 30 minutes of questioning 19        Q. Do you see that? First of all, do you recall --
     20 we had about a 20-minute break. And my question is that 20           A. I do not.
     21 during that period of time -- I don't want anything other   21       Q. Again, I'm sorry, I'm not trying to give you a
     22 than a yes or no on this question, okay -- did you guys     22 hard time, it's for the benefit of the court reporter.
     23 discuss the subject of your testimony?                      23       A. Sorry.
     24         MS. KREITER: We discussed the matters that I        24       Q. Yeah, no, no problem. Just let me, again,
     25      just put on the record.                                25 finish, I'll try to do the same to you. And trust me, I'm

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